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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                   for the
                                                        District of South Carolina


                ICEE DEASIA BROWN,
                                                               )
                            Plaintiff
                                                               )
                               v.                                             Civil Action No.     3:22-cv-00634-CMC
                                                               )
                                                               )
    RONALD J. VERBRAEKEN AND RONCAR                            )
         TRANSPORTATION, INC.,
                          Defendants


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                  recover from the defendant (name)               the amount of                dollars ($   ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of          %, along with
costs.
O the plaintiff, Icee Deasia Brown, take nothing of the defendants, Ronald J. Verbraeken and Roncar Transportation,
Inc., and this action is dismissed without prejudice.


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Court, the Honorable Cameron McGowan Currie, Senior US District Judge, presiding. The Court
having dismissed this action without prejudice.



Date: March 30, 2022                                                         ROBIN L. BLUME, CLERK OF COURT


                                                                                            s/Charles L. Bruorton
                                                                                        Signature of Clerk or Deputy Clerk
